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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                     CASE NO. 20-CV-81205-RAR

   SECURITIES AND EXCHANGE
   COMMISSION,

          Plaintiff,

   v.

   COMPLETE BUSINESS SOLUTIONS
   GROUP, INC. d/b/a PAR FUNDING, et al.,

         Defendants.
   ______________________________________/

            ORDER GRANTING RECEIVER’S THIRTY-THIRD MOTION TO LIFT
        LITIGATION INJUNCTION AS TO CERTAIN GARNISHMENT PROCEEDINGS

          THIS CAUSE comes before the Court upon the Receiver’s Thirty-Third Motion to Lift

   Litigation Injunction as to Certain Garnishment Proceedings (“Motion”), [ECF No. 2079], filed

   on December 19, 2024.

          In the Motion, the Receiver seeks to modify the Court’s Amended Order Appointing

   Receiver dated August 13, 2020, [ECF No. 141], so as to lift the litigation injunction provided for

   in that Order for certain garnishment matters currently pending in the Court of Common Pleas of

   Philadelphia County, Pennsylvania to be opened for the limited purpose to authorize the Receiver,

   in his direction, to dissolve current writs of garnishment, to mark judgments satisfied, and/or to

   reopen confessed judgments, where the counterparty merchant either has resolved, or has agreed

   to resolve, prior defaults, or otherwise filed for bankruptcy protection, in certain cases in the Court

   of Common Pleas of Philadelphia County, Pennsylvania.

          The Receiver has made a sufficient and proper showing in support of the relief requested.

   Accordingly, it is hereby

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          ORDERED AND ADJUDGED that the Receiver’s Motion is GRANTED with respect

   to the relief requested. Specifically, the litigation injunction set forth in the Court’s Amended

   Order Appointing Receiver dated August 13, 2020, [ECF No. 141], is hereby lifted in the following

   matters in the Court of Common Pleas of Philadelphia County, Pennsylvania, and solely for the

   purposes described in the Motion:

              a. Complete Business Solutions Group, Inc. d/b/a Par Funding v. T C and B
                 Corporate Wearables Inc. d/b/a T C and B Wearables, and Clark Fessler,
                 Philadelphia Court of Common Pleas, Docket No. 200302727;

              b. Complete Business Solutions Group, Inc. d/b/a Par Funding v. Brandon
                 Excavating LLC and Michael Szermach, Philadelphia Court of Common
                 Pleas, Docket No. 200700108;

              c. Contract Financing Solutions Inc. v. Wildwood Country Club LLC, David
                 McQuary, Philadelphia Court of Common Pleas, Docket No. 200101368;

              d. Complete Business Solutions Group, Inc. d/b/a Par Funding v. Mid Valley
                 Hospice Inc. and Anahid Safarian, Philadelphia Court of Common Pleas,
                 Docket No. 190606834;

              e. Fast Advance Funding v. Gator Drain and Plumbing LLC and Robyn
                 Jennings, Philadelphia Court of Common Pleas, Docket No. 190902220;

              f. Complete Business Solutions Group, Inc. d/b/a Par Funding v. Chika
                 International Food Market Inc. and Chika Moughalu, Philadelphia Court
                 of Common Pleas, Docket No. 190300997; and

              g. Complete Business Solutions Group, Inc. d/b/a Par Funding v. Cherished
                 Care LLC and Ashwini Anand, Philadelphia Court of Common Pleas,
                 Docket No. 200201404.


          DONE AND ORDERED in Miami, Florida, this 19th day of December, 2024.



                                                       ____________________________________
                                                       RODOLFO A. RUIZ II
                                                       UNITED STATES DISTRICT JUDGE

   Copies to: Counsel of record

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